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             Michael.Nacchio@ogletreedeakins.com


                                                                                  February 9, 2021

             Via ECF

             Honorable Lewis J. Liman
             United States District Judge
             Southern District of New York
             500 Pearl Street
             New York, New York 10007

                        Re:        HC2, Inc. v. Andrew Delaney
                                   Civil Action No. 20-cv-03178-LJL

             Dear Judge Liman:

                      This firm represents HC2, Inc. Plaintiff writes to inform the Court that it today learned that
             Defendant filed for bankruptcy protection under Chapter 7 of the United States Bankruptcy code on
             December 23, 2020. Defendant’s petition is pending under Case No. 1-20-44372-jmm in the United
             States Bankruptcy Court for the Eastern District of New York. A copy of Defendant’s petition is
             annexed hereto as Exhibit A. Plaintiff brings this issue to this Court’s attention at the first instance
             in light of the automatic stay set forth in 11 U.S.C. § 362.

                                                                                 Respectfully Submitted,

                                                                                 OGLETREE, DEAKINS, NASH,
                                                                                 SMOAK & STEWART, P.C.

                                                                                 s/ Michael Nacchio

                                                                                 Michael Nacchio

                                                                                                                                                        45554747.1




                                         A South Carolina Professional Corporation        Peter O. Hughes      New Jersey Managing Shareholder
Atlanta ▪ Austin ▪ Berlin (Germany) ▪ Birmingham ▪ Bloomfield Hills ▪ Boston ▪ Charleston ▪ Charlotte ▪ Chicago ▪ Cleveland ▪ Columbia ▪ Dallas ▪ Denver ▪ Detroit Metro    ▪ Greenville
Houston ▪ Indianapolis ▪ Jackson ▪ Kansas City ▪ Las Vegas ▪ London (England) ▪ Los Angeles ▪ Memphis ▪ Mexico City (Mexico) ▪ Miami ▪ Milwaukee ▪                           Minneapolis
Morristown ▪ Nashville ▪ New Orleans ▪ New York City ▪ Oklahoma City ▪ Orange County ▪ Paris (France) ▪ Philadelphia ▪ Phoenix ▪ Pittsburgh ▪ Portland ▪ Raleigh           ▪ Richmond
St. Louis ▪ St. Thomas ▪ Sacramento ▪ San Antonio ▪ San Diego ▪ San Francisco ▪ Seattle ▪ Stamford ▪ Tampa ▪ Toronto (Canada) ▪ Torrance ▪ Tucson ▪                          Washington
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